 Case 1:20-cv-01541-SB Document 31 Filed 08/19/21 Page 1 of 1 PageID #: 1244




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

MICHAEL AVENATTI.,

                    Plaintiff,

             v.

FOX NEWS NETWORK, LLC,
a Delaware Limited Liability Com-
pany; SEAN HANNITY; LAURA IN-
                                                   No. 1:20-cv-01541-SB
GRAHAM; MARIA BARTIROMO;
HOWARD KURTZ; SHANNON
BREAM; BRET BAIER; TRISH
REGAN; RAYMOND ARROYO;
JON SCOTT; LELAND VITTERT;
and JOHNATHAN HUNT,

                    Defendants.


                                      ORDER

   On August 13, 2021, I dismissed Michael Avenatti’s complaint without prejudice
[D.I. 28]. I gave Freeman thirty days to amend his claims, but he has expressed his
intent to stand on his complaint [D.I. 30]. I thus order that:

   Avenatti’s claims are DISMISSED WITH PREJUDICE. The clerk is directed
to CLOSE this case.



Dated: August 19, 2021                      ____________________________________
                                             UNITED STATES CIRCUIT JUDGE
